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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO

______________________________________

MELODY JOY CANTU AND DR. RODRIGO                   5:20-CV-0746 JKP – HJB
CANTU,

Plaintiffs,

v.

DR. SANDRA GUERRA and DIGITAL
FORENSICS CORPORATION, LLC,

Defendants.


______________________________________




               PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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        Plaintiffs Melody Joy Cantu and Dr. Rodrigo Cantu move this Court for Summary

Judgment against Defendants Dr. Sandra Guerra (“Dr. Guerra”) and Digital Forensics

Corporation Inc. (“DFC”) on Causes of Action 1-11 and 13.


                                                 Background
        In their Amended Complaint, Plaintiffs assert claims against Defendants under the

Federal Computer Fraud and Abuse Act, Texas’s statutes covering unauthorized access to

computers, as well as the Texas state tort of malicious prosecution.1 Defendants jointly conspired

to engage in the malicious prosecution of Defendant Melody Joy Cantu as well as the stalking

and harassment of both Plaintiffs through a campaign of hacking, phishing, and surveillance in

violation of federal and Texas law.2


        Defendant Dr. Sandra Guerra hired Defendant DFC to hack, investigate and surveil

Plaintiffs.3 As part of this conspiracy, DFC produced a “Phase I” report for Defendant Dr.




        1
           (1) Unauthorized Access to a Protected Computer 18 U.S.C. 1030(a)(2)(c); (2) Unauthorized Damage to a
Protected Computer 18 U.S.C. 1030(a)(5)(A); (3) Unauthorized Access to a Protected Computer Recklessly Causing
Damage 18 U.S.C. 1030(a)(5)(B); (4) Unauthorized Access to a Protected Computer Causing Damage And Loss 18
U.S.C. 1030(a)(5)(C); (5) Conspiracy to Commit Unauthorized Access to a Protected Computer 18 U.S.C.
1030(a)(2)(c) & 1030(b); (6) Conspiracy To Commit Unauthorized Damage to a Protected Computer 18 U.S.C.
1030(a)(5)(A) & 1030(b); (7) Conspiracy To Commit Reckless Damage to a Protected Computer 18 U.S.C.
1030(a)(5)(B) & 1030(b); (8) Conspiracy to Commit Unauthorized Access to a Protected Computer Causing
Damage And Loss 18 U.S.C. 1030(a)(5)(C) & 1030(b); (9) Knowingly Accessing Without Effective Consent a
Computer, Computer Network, Or Computer System Tex. Civ. Prac. & Rem. Code § 143.001 & Texas Penal Code §
33.02(a); (10) Knowingly Accessing a Computer, Computer Network, or Computer System With The Intent to
Defraud, or Harm Another or Alter, Damage, or Delete Property Without Effective Consent Tex. Civ. Prac. & Rem.
Code § 143.001 & Texas Penal Code § 33.02(b-1); (11) Electronic Access Interference Tex. Civ. Prac. & Rem.
Code § 143.001 & Texas Penal Code § 33.022; and (13) Malicious Prosecution.

        2
            See Dkt. 6, Am. Compl.

        3
            See e.g. BATES#: D 000060-61 (Aff. of Dr. Guerra stating she has retained DFC (attached as Ex. A)).
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Guerra.4 The Phase I report contained a sample affidavit written by DFC for use by Dr. Guerra to

submit as part of a police report. DFC required the filing of the police report in order to do

further work for Defendant and generate a “Phase II” report. Defendant Dr. Guerra admitted at

depositions that the affidavit she submitted to the police was substantially written by DFC and

not her.5 Moreover, the Phase I report and communications between DFC and Dr. Guerra reveal

that DFC created tracking URLs deployed by Dr. Guerra against Plaintiffs.6


        The record establishes that Dr. Guerra and DFC phished Plaintiffs multiple times via text

and email. DFC intentionally employed phishing links to gain access to Plaintiffs’ networks. 7

During the same time period, Plaintiffs discovered that someone spliced their cable network with

a coaxial splicer.8 At deposition, DFC’s expert Shawn Kasal admitted that one can wiretap

someone’s internet connection with a coaxial cable splicer, and spoke of his knowledge of

military wire-tapping surveillance techniques.9 Furthermore, when questioned about Defendant




        4
            See BATES#: GUERRA 000062-87 (DFC Phase I Report (attached as Ex. B)).

        5
          See Dep. of Dr. Guerra 45:16-46:3 (admitting she took a copy of DFC’s Phase I report to the San Antonio
Police Department (attached as Ex. C)).

        6
          See e.g. BATES#: GUERRA 000340 (discussing URL tracking links deployed against Plaintiffs (marked
confidential and subject to Protective Order, Ex. D available for in camera review)).

        7
           See BATES#: D 000110-13 (phishing links sent to Plaintiffs by Dr. Guerra using fake email addresses)
(attached as Ex. E)).

        8
           See e.g. MCantuProd00193-206 (service appointment scheduling and billing from Spectrum Cable to
identify the issue with Plaintiff’s internet network, and photos of cable splicing (attached as Ex. F).

        9
          See Dep. of S. Kasal (Jul 18, 2022) at 6:10-12:10. (discussing knowledge of military-grade splicing
techniques, discussing methods of splicing, and evading further answers (attached as Ex. G)).
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DFC’s use of a coaxial wiretap in this case, he became evasive and refused to answer questions,

citing his obligations of secrecy to the military.10


        On September 4, 2018, Defendant Dr. Guerra took the Phase I report to the San Antonio

Police Department and filed a false police report against Plaintiff Melody Joy Cantu.11 On

December 21, 2018, Plaintiff Melody Joy Cantu was arrested.12 On June 24, 2019, all charges

against Plaintiff Melody Joy Cantu were dismissed by the court. 13




                                                  Legal Standard

        Summary judgment is appropriate if the record shows that "there is no genuine issue as to

any material fact and that the moving party is entitled to a judgment as a matter of law."14 The

party seeking summary judgment has the initial burden to show the absence of a material fact.15




        10
             See Ex. G, at 8:4-9:8 (refusing to answer questions, citing his obligation to the military).

          11
             See GUERRA 000957-61 (police affidavit memorializing Dr. Guerra stating she hired DFC (attached as
Ex. H)); Ex. B, at GUERRA 000086-87 (affidavit template provided by DFC to Dr. Guerra); Ex. D, at 45:16-46:3
(stating she took a copy of DFC’s Phase I report to the San Antonio Police Department).

        12
           See BATES#: GUERRA 000952 (docket for Plaintiff Melody Joy Cantu’s criminal case in Bexar County
(attached as Ex. K)); Ex. H, at GUERRA 000960-61 (bond report for Bexar County Criminal Case against Plaintiff
Melody Joy Cantu); DrCantuProd#000029-30 (surety bond for criminal matter (attached as Ex. L)).

        13
           See BATES#: GUERRA 000953-55 (order granting dismissal of criminal case against Plaintiff Melody
Joy Cantu (attached as Ex. M).

        14
             Fed. R. Civ. P. 56(c); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).

        15
             Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).
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A genuine issue of material fact exists "if the evidence is such that a reasonable jury could return

a verdict for the non-moving party."16


        Once a motion for summary judgment is properly made and supported, the opposing

party has the burden of showing that a genuine dispute exists.17 Thus, to defeat a properly

supported motion for summary judgment, the non-moving party "must set forth specific facts

showing that there is a genuine issue for trial."18 Whether a fact is considered to be "material" is

determined by the substantive law, and "[o]nly disputes over facts that might affect the outcome

of the suit under the governing law will properly preclude the entry of summary judgment."19

The facts shall be viewed, and all reasonable inferences drawn, in the light most favorable to the

non-moving party.20 Neither conclusory allegations nor unsubstantiated assertions will satisfy the

nonmovant's burden."21


        "Courts agree that a willful or intentional destruction of evidence to prevent its use in

litigation can justify severe sanctions."22 "Sanctions for spoliation of evidence may include

awarding attorney fees, deeming certain facts admitted, giving an adverse inference instruction to



        16
             Anderson, 477 U.S. at 248.

        17
             Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986).

        18
            Anderson, 477 U.S. at 247-48 ("[T]he mere existence of some alleged factual dispute between the parties
will not defeat an otherwise properly supported motion for summary judgment; the requirement is that there be no
genuine issue of material fact.").

        19
             Id. at 248.

        20
             Id. at 255.

        21
             Wallace v. Tex. Tech Univ., 80 F.3d 1042, 1047 (5th Cir. 1996) (quotation marks and citations omitted).

        22
             See Rimkus Consulting Grp., Inc. v. Cammarata, 688 F. Supp. 2d 598, 618 (S.D. Tex. 2010).
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the jury, excluding evidence or expert testimony, striking pleadings, entering a default judgment,

and dismissing the case entirely."23 Spoliation of evidence may also subject a party to criminal

penalties, contempt sanctions, and disciplinary sanctions.24 Much like criminal sentencing, an

appropriate discovery sanction will take into account principles of deterrence, restitution, and

punishment in proportion to the significance of the violation.25


                                                    Argument

        This Court should grant Plaintiffs summary judgment because no reasonable juror would

find a genuine issue as to any material fact evidencing that Defendants maliciously prosecuted

Plaintiffs through a scheme of illegal computer hacking, phishing, stalking, and surveillance, in

violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 et. seq. (“CFAA”), the

Federal Wiretap Act, 18 U.S.C. §§ 2510 et. seq., the Texas Harmful Access by Computer Act

§143.001 (“HACA”), Texas Penal Code § 33.02(b-1) (1), and the Texas torts of malicious

prosecution and intentional infliction of emotional distress.


        I.         The Court Should Grant Summary Judgment as to Malicious
                   Prosecution

        The record establishes the absence of any question of material fact as to whether the

elements of malicious prosecution under Texas state law have been met: (1) Defendant Dr.

Guerra commenced criminal proceedings against Plaintiff Melody Joy Cantu using a form



        23
           Allstate Texas Lloyd's v. McKinney, 964 F. Supp. 2d 678, 683 (S.D. Tex. 2013) (quotation marks and
citation omitted).

        24
             Wallace v. Ford Motor Co., No. 3:11-CV-567-CWR-FKB, 2013 WL 3288435, at *5 n.1 (S.D. Miss. June
28, 2013).

        25
             McKinney, 964 F. Supp. 2d at 682-83.
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affidavit written by DFC; (2) The false charge lacked probable cause and was dismissed in

Plaintiff Melody Joy Cantu’s favor; (3) Defendants acted with malice as part of their campaign

to stalk, harass and hack Plaintiffs.26




                   A. Defendant DFC’s Willful Failure to Produce

        Depositions reveal that Defendant DFC willfully withheld a broad swath of discovery

they were obligated to produce. Only after depositions and Plaintiffs’ Motions to Compel did

DFC produce a small amount of material. To date, DFC has not produced their complete

communications with Defendant Dr. Guerra, the code used to phish Plaintiffs Melody Joy Cantu

and Dr. Rodrigo Cantu27, server logs for the server they controlled to do it, or a substantial

portion of the material information that Plaintiffs requested from Defendant DFC and that the

discovery indicates exists.


                   B. Dr. Guerra Admits to Taking the DFC Phase I Report to the Police

        Defendant Dr. Guerra filed a false police report against Plaintiff Melody Joy Cantu at the

urging of Defendant DFC. DFC expressly told Dr. Guerra that in order to obtain a Phase II report

on Plaintiff Melody Joy Cantu, a police report was required.28




        26
             See e.g. Akin v. Dahl, 661 SW 2d 917 (Tex. Sup Ct. 1983).

        27
             See e.g. Ex. E, at D 000110-113 (Phishing Links sent by Dr. Guerra to Plaintiffs produced by DFC).

         28
            See BATES#: D 000149 (DFC call log registering a 12-minute call with Dr. Guerra (marked confidential
and subject to Protective Order, Ex. D available for in camera review)); Ex. B at GUERRA 000399 (Phase I report
requiring Dr. Guerra to file a police report); Ex. H at GUERRA 000957-58 (police affidavit memorializing Dr.
Guerra stating she hired DFC); Ex. B at GUERRA 000086-87 (affidavit template provided by DFC to Dr. Guerra);
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        This false police report, done without probable cause, led to Plaintiff Melody Joy Cantu’s

arrest and prosecution.29 Defendant Dr. Guerra admitted to the San Antonio Police Department

she communicated with and hired Defendant DFC.30


        Throughout discovery, both Defendants have been evasive and have refused to produce

evidence related to their hacking, harassment and surveillance of Plaintiffs. For instance, when

asked three times at her deposition whether she had searched for responsive communications, Dr.

Guerra answered “yes” and then stated that she had found none.31 The next day Dr. Guerra’s

counsel produced communications between Dr. Guerra and DFC. The discovery indicates that

Plaintiffs have still not received the full scope of communications between Defendants regarding

their conspiracy against Plaintiffs. Defendant Dr. Guerra’s deliberate misrepresentations as to the

existence of her communications with Defendant DFC in her deposition, as well as DFC’s

willful withholding of evidence, erases any doubt as to material facts underlying all the elements

of malicious prosecution.




Dep. of Dr. Guerra 45:16-46:3 (Dr. Guerra admits she took a copy of DFC’s Phase I report to the San Antonio
Police Department).

        29
           See Ex. H, at GUERRA 000957-58 (police affidavit memorializing Dr. Guerra stating she hired DFC);
Ex. C at 35:23-25 (admitting she did not know who attempted to access her account); 36:1-11 (admitting she does
not know who MonkeyBar1970 is); 93:12-25 (admitting she has no evidence that her computer network was
accessed without authorization), 97:1-11 (admitting her last contact with Plaintiff Melody Joy Cantu was April 1,
2018 for two-minutes outside a restaurant); D 000055 (Emails between DFC and Dr. Guerra discussing tracking
URLs and phishing scheme (attached as Ex. J)).

          30
             See Ex. H, at GUERRA 000957-58 (police affidavit memorializing Dr. Guerra stating she hired DFC);
San Antonio Police bodycam footage of Dr. Guerra making her police report against Melody Joy Cantu. On file with
Plaintiffs.

        31
         See Ex. C, at 7:5-9:15 (claiming she does not recall emailing with DFC, that she had searched responsive
communications, and that she found none).
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        II.        The Court Should Grant Summary Judgment on the CFAA
                   Counts

                   A. Unauthorized Access under 18 U.S.C. §1030 (a)(2)(C)

        Plaintiffs’ computers are used in interstate commerce and are “protected computers” as

the term is used in 18 U.S.C. §1030 (e)(2)(B). Plaintiffs maintained and secured their computers

by reasonable means, and never authorized Defendants to access them. Defendants Dr. Guerra

and DFC conspired together to intentionally access Plaintiff Melody Joy Cantu’s protected

computers without authorization.32


        Defendants used phishing links to gain unauthorized access to Plaintiff Melody Joy

Cantu’s protected computers.33 Phishing is a violation of Texas criminal law.34 Also, DFC’s

refusal to produce evidence in this matter, coupled with their own expert’s military-grade

knowledge of cable splicing, warrants this Court finding that there is no question of material fact

as to whether Defendants violated the CFAA and federal wiretap law.




        32
           See BATES#: D 000031-32 (communications between Dr. Guerra and DFC including Plaintiff Dr.
Cantu’s PII (marked confidential and subject to Protective Order, Ex. N available for in camera review); Ex. N, at D
000034-54 (DFC sends background check on Plaintiff Melody Joy Cantu to Dr. Guerra); Ex. A, at D 000060-61
(Retainer agreement between Dr. Guerra and DFC).

        33
            See Ex. H, at D 000110-D 000113 (emails in which Dr. Sandra forwards to DFC emails from fake email
addresses she phished Plaintiffs with by sending URL tracking links); GUERRA 00339-46 (instructions from DFC
directing Dr. Guerra how to deploy phishing links (attached as Ex. O)); Ex. B, at GUERRA 000081 (DFC Phase I
report to Dr. Guerra with URL tracking link results), Ex. G at 24:4-24:10 (stating he reviewed code of the phishing
links sent to Plaintiffs), 27:12-15 (conceding he reviewed raw text files), 30:19-24 (stating phishing links can be
used to install malware on target networks), 35:6-22 (acknowledging he knows phishing is a crime), 37:1-7
(admitting phishing techniques employ deceptive tactics).

        34
             See Texas Harmful Access by Computer Act §143.001 (“HACA”), Texas Penal Code § 33.02(b-1) (1).
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           As a direct result of Defendants’ conduct, Plaintiffs Melody Joy Cantu and Dr. Rodrigo

Cantu suffered loss in expending time, money, and resources aggregating at least $5000.00 in

value, to investigate the intrusion, assess the damage, and restore their systems to their prior

state.35


                  B. Unauthorized Damage under 18 U.S.C. §1030 (a)(5)(A)

           Defendants Dr. Guerra and DFC knowingly caused transmission of a program,

information, code, or command, and intentionally caused damage without authorization. This

damage includes impairment to the integrity and availability of the Cantu’s data, programs,

systems, and information on the Cantu’s computers and networks resulting from computer

crashes, diminished bandwidth, diminished processing time, and the deletion and alteration of

data, all caused by Defendants’ phishing, wiretapping, malware, and use of malicious codes

against Plaintiffs.36


                  As a direct result of Defendants’ conduct, Plaintiffs Melody Joy Cantu and Dr.

Rodrigo Cantu suffered loss in expending time, money, and resources aggregating at least




           35
            See BATES#: Dr.CantuProd#000001-28 (receipts and invoices from Exhibit A Computer Forensics
Investigation LLC to discover and assess damage to computer network (attached as Ex. P)), 000050-51 (invoices
from Exhibit A Computer Forensics Investigation LLC for consultation services provided (attached as Ex. Q)); Ex.
F, at MCantuProd 00193-00206 (invoices from Spectrum work orders and photographs of damage caused by
splicer).

           36
            See Ex. G at 20:17-25 (admitting that DFC produced a package for implementation by user), 21:1-22:3
(stating that DFC’s phishing methods allow DFC to access data and that he reviewed the code of the phishing links);
Ex. F, at MCantuProd 00193-00206 (invoices from Spectrum work orders and photographs of damage caused by
splicer).
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$5000.00 in value, to investigate the intrusion, assess the damage, and restore their systems to

their prior state.37


                  C. Unauthorized Access and Reckless Damage Under 18 U.S.C. §1030 (a)(5)(B)

           Defendants Dr. Guerra and DFC intentionally accessed Plaintiffs’ protected computers

without authorization and thereby recklessly impaired the integrity and availability of the

Plaintiff’s data, programs, systems, and information.38 The Defendants reckless conduct caused

computer crashes, diminished bandwidth, diminished processing time, and resulted in the

deletion of data.39


           As a direct result of Defendants’ conduct, Plaintiffs Melody Joy Cantu and Dr. Rodrigo

Cantu suffered loss in expending time, money, and resources aggregating at least $5000.00 in

value, to investigate the intrusion, assess the damage, and restore their systems to their prior

state.40




           37
            See BATES#: Dr.CantuProd#000001-28 (receipts and invoices from Exhibit A Computer Forensics
Investigation LLC to discover and assess damage to computer network (attached as Ex. P)), 000050-51 (invoices
from Exhibit A Computer Forensics Investigation LLC for consultation services provided (attached as Ex. Q)); Ex.
F, at MCantuProd 00193-00206 (invoices from Spectrum work orders and photographs of damage caused by
splicer).

           38
           See Ex. F, at MCantuProd 00193-00206 (invoices from Spectrum work orders and photographs of
damage caused by splicer); Ex. G, at 34:22-35:5 (admitting he knows technologies that can be used to tap into
systems via coaxial cable connectors); Dep. of Dr. Rodrigo Cantu at 18:3-16 (Plaintiff Dr. Cantu admits that he was
having difficulties after DFC connected to his home internet connection (attached as Ex. R).

           39
           Ex. F, at MCantuProd 00193-00206 (invoices from Spectrum work orders and photographs of damage
caused by splicer).

           40
            See BATES#: Dr.CantuProd#000001-28 (receipts and invoices from Exhibit A Computer Forensics
Investigation LLC to discover and assess damage to computer network (attached as Ex. P)), 000050-51 (invoices
from Exhibit A Computer Forensics Investigation LLC for consultation services provided (attached as Ex. Q)); Ex.
F, at MCantuProd 00193-00206 (invoices from Spectrum work orders and photographs of damage caused by
splicer).
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                      D. Unauthorized Access Causing Damage and Loss under 18 U.S.C. §1030
                         (a)(5)(C)

           As a direct result of Defendants’ conduct, Plaintiffs Melody Joy Cantu and Dr. Rodrigo

Cantu suffered loss in expending time, money, and resources aggregating at least $5000.00 in

value, to investigate the intrusion, assess the damage, and restore their systems to their prior

state.41


                      E. Defendants Conspired on all CFAA Causes of Action

           This Court should grant Plaintiffs summary judgment on the conspiracy cause of action

because no reasonable juror would find a genuine issue as to any material fact establishing that

Defendants conspired to hack and surveil Plaintiffs’ computers and networks. The evidence

shows, and Defendants admit in their depositions, that Dr. Guerra paid, and DFC agreed, to a

scheme of illegal computer hacking, phishing, stalking, and surveillance, in violation of the

CFAA and Texas state computer law.42


           III.       The Court Should Grant Summary Judgment on the Texas State
                      Law Computer Law Claims
           For the same reasons argued above as to the CFAA claims, this Court should grant

Plaintiffs summary judgment on the Texas state law claims. Texas State Law provides a cause of




           41
                Id.

           42
           See Ex. N, at D 000031-32 (communications between Dr. Guerra and DFC including Plaintiff Dr.
Cantu’s PII); Ex. N, at D 000034-54 (DFC sends background check on Plaintiff Melody Joy Cantu to Dr. Guerra);
Ex. A, at D 000060-61 (affidavit documenting retainer agreement between Dr. Guerra and DFC); Ex. B (Phase I
report advising Dr. Guerra to file a police report); Ex. H, at GUERRA 000958 (police affidavit memorializing Dr.
Guerra stating she hired DFC).
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action for anyone who is injured or whose property is damaged as a result of an intentionally

committed computer intrusion.43


                                                Conclusion
        For the reasons stated above, this Court should grant summary judgment on causes of
action 1-11 and 13.



Brooklyn, NY
Dated: October 14, 2022
                                                               Respectfully submitted,

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                                                               and Dr. Rodrigo Cantu




       43
            Tex. Civ. Prac. & Rem. Code § 143.001 & Texas Penal Code § 33.02(a)
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                                     Certificate of Service

       I certify that on this 14th of October 2022, a true and correct copy of the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system which will send

electronic notification of such filing to the parties on record.



                                                                    /s/ Michael Hassard
